     Case 3:15-cv-02328-GMM   Document 175    Filed 05/31/19   Page 1 of 26



                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,

        Plaintiff,

                   v.                        Civil No. 15-2328 (FAB)

PUERTO RICO INDUSTRIAL
DEVELOPMENT COMPANY,

        Defendant.


                          OPINION AND ORDER

BESOSA, District Judge.

      Before the Court is the United States’ motion for summary

judgment pursuant to Federal Rule of Civil Procedure 56 (“Rule

56”).     (Docket No. 142.)      The United States seeks to recover

$5,398,161.04 from defendant Puerto Rico Industrial Development

Company (“PRIDCO”) pursuant to the Comprehensive Environmental

Response, Compensation and Liability Act (“CERCLA”), 42 U.S.C. §

9607 et seq.    Id. at p. 13.    For the reasons set forth below, the

United States’ motion for summary judgment is GRANTED.

I.    Background

      This litigation concerns contaminated groundwater in Maunabo,

Puerto Rico (hereinafter, the “property”).         PRIDCO is a government

instrumentality of the Commonwealth of Puerto Rico, incorporated

in 1942 to stimulate the formation of local firms and to attract

foreign investment.     (Docket No. 11 at p. 2; Docket No. 117, Ex.
      Case 3:15-cv-02328-GMM     Document 175     Filed 05/31/19     Page 2 of 26



Civil No. 15-2328 (FAB)                                                             2

3 at p. 2.)      To accomplish these ends, PRIDCO maintains industrial

facilities throughout Puerto Rico. Id. The property, which PRIDCO

acquired in 1964, is among these facilities.              (Docket No. 117, Ex.

4 at p. 2.)

       The   Puerto   Rico     Aqueduct   and    Sewer    Authority         (“PRASA”)

operates four groundwater supply wells in Maunabo, providing water

to 14,000 people.      (Docket No. 101, Ex. 6 at p. 12.)              Between 2001

and 2004, PRASA detected volatile organic compounds, including

trichloroethylene (“TCE”) and cis-1, 2-dichloroethene (“cis-1, 2-

DCE”), in the water supply.1          (Docket No. 101, Ex. 3 at p. 23.)

TCE and cis-1, 2-DCE are hazardous substances.               Id.     Subsequently,

the     United    States     Environmental      Protection         Agency     (“EPA”)

identified three plumes of contaminated groundwater throughout the

Municipality of Maunabo: (1) the cis-1, 2-DCE plume, (2) the PCE

plume, and (3) the 1, 1-DCE plume.              (Docket No. 101, Ex. 5 at p.

171.)    The cis-1, 2-DCE plume is located below PRIDCO’s property.

(Docket No. 101, Ex. 6 at p. 26.)2               Together, the three plumes

comprise the Maunabo Area Groundwater Contamination Superfund Site

(hereinafter, the “site”).         Id. at p. 12.      The EPA placed the site




1 TCE is a chlorinated solvent that degrades into cis-1, 2-DCE upon disposal
into the environment. (Docket No. 101, Ex. 6 at p. 12.)

2
 The United States is not requesting reimbursement for costs relating to the
PCE and 1, 1-DCE plumes.
     Case 3:15-cv-02328-GMM    Document 175       Filed 05/31/19   Page 3 of 26



Civil No. 15-2328 (FAB)                                                           3

on   the   National   Priorities     List,    a    compilation     of   the   most

contaminated sites in the United States.              Id. at p. 15.3

        The United States commenced this action on September 25, 2015.

(Docket No. 1.)       The Court granted the United States’ motion to

trifurcate this litigation into a Liability Phase (“Phase I”), a

Cost Phase (“Phase II”), and a Contribution Phase (“Phase III”).

(Docket No. 85.)      In Phase I, the Court held that PRIDCO is prima

facie liable pursuant to CERCLA for all response costs incurred by

the EPA in connection with the cis-1, 2-DCE plume.                 United States

v. P.R. Indus. Dev. Co., 287 F. Supp. 3d 133 (D.P.R. 2017) (Besosa,

J.).4      The Court granted PRIDCO leave, however, to assert the

third-party defense in Phase II.         Id. at 141 and 153.

        PRIDCO and the United States filed cross-motions for summary

judgment regarding the third-party defense.               (Docket Nos. 142 and

143.) The Court held that the third-party defense is inapplicable,



3 The 2019 National Priorities List includes the Maunabo Area Groundwater
Contamination Superfund Site.    Superfund: National Priorities List (NPL),
(Feb. 5, 2019) available at https://www.epa.gov/superfund/superfund-national-
priorities-list-npl (last visited May 31, 2019).

4 The United States prevailed in Phase I by establishing that: (1) the property
is a facility pursuant to section 9607(b) of CERCLA, (2) PRIDCO falls within
one of four categories of covered persons pursuant to section 9607(a); (3) a
release or threatened release occurred on the property; and (4) the release or
threatened release caused the United States to incur response costs that are
not inconsistent with the National Contingency Plan. 42 U.S.C. § 9607; Acushnet
Co. v Mohasco Corp., 191 F.3d 69, 75 (1st Cir. 1999) (“By and large, a person
who falls within one of the four categories defined in [section 9607] is exposed
to CERCLA liability.”).
    Case 3:15-cv-02328-GMM      Document 175    Filed 05/31/19   Page 4 of 26



Civil No. 15-2328 (FAB)                                                         4

a disposition that solidified PRIDCO’s status as a liable party

pursuant to CERCLA.       United States v. P.R. Indus. Dev. Co., Case

No. 15-2328, 2019 U.S. Dist. LEXIS 52194, at *10 (D.P.R. Mar. 25,

2019) (Besosa, J.) (holding that PRIDCO failed to “establish by a

preponderance of the evidence that an ‘act or omission of a third

party other than an employee or agent of [PRIDCO ]. . . caused the

groundwater contamination’”) (citing 42 U.S.C. § 9607(b)(3)).5

      The United States also moved for summary judgment regarding

costs, seeking to recover $5,398,161.04 from PRIDCO.                (Docket No.

142 at p. 13.)        In its motion for summary judgment, the United

States:    (1) omitted “five small dollar contracts,” (2) referred

to the cis-1, 2-DCE plume as multiple plumes rather than a single

plume,    and   (3)   requested     reimbursement     for    “all    costs,”    a

representation that contradicted its request for “only” past costs



5 Liability pursuant to CERCLA is strict, several, and joint, subject to the
following affirmative defenses: (1) act of God, (2) act of war, (3) act or
omission of a third party other than an employee or agent of the defendant, or
than one whose act or omission occurred in connection with a contractual
relationship, existing directly or indirectly, with the defendant . . . (the
third-party defense”), and (4) any combination of [these three defenses]. 42
U.S.C. § 9607(b); In re Hemingway Transp., 993 F.2d 915, 934 (1st Cir. 1992)
(noting that “if [the defendant] did not take all appropriate steps to protect
itself from CERCLA liability, its lack of diligence exposed it to the harsh
consequences of strict, joint, and several liability under CERCLA”). Secured
creditors who hold indicia of ownership merely to protect a security interest
in the contaminated property are also exempt from CERCLA liability. 42 U.S.C.
§ 9601(20)(E). PRIDCO invoked the affirmative defenses and secured creditor
exemption in Phase I. (Docket No. 11 at pp. 7—8.) The Court held, however,
that PRIDCO is ineligible for the act of God and act of war affirmative defenses.
P.R. Indus. Dev. Co., 287 F. Supp. 3d at 147; P.R. Indus. Dev. Co., 2019 U.S.
Dist. LEXIS 52194, at *11—14. PRIDCO is also ineligible for the secured creditor
exemption. Id.
   Case 3:15-cv-02328-GMM    Document 175   Filed 05/31/19   Page 5 of 26



Civil No. 15-2328 (FAB)                                                       5

in its motion to limit the scope of judicial review.           P.R. Indus.

Dev. Co., 2019 U.S. Dist. LEXIS 25194, at *20—28.                The Court

ordered the United States to “specify which response actions (e.g.

removal actions, remedial actions) underlie the costs that PRIDCO

is purportedly liable for in this action.”        Id. at *28.

     The   United   States     subsequently     provided      supplemental

documentation concerning the small dollar contracts, confirming

that the “EPA’s indirect costs and prejudgment interest, as [stated

in the motion for summary judgement], are supported and have been

calculated correctly.”      (Docket No. 166, Ex. 1 at p. 2.)                The

United States referred to the cis-1, 2-DCE plume as the “TCE-cis-

1,2-DCE Plumes” because TCE is also located on PRIDCO’s property.

Id. at p. 6.   The terms “PRIDCO plume,” “cis-1, 2-DCE plume,” and

“TCE-cis-1,2-DCE plumes” are synonymous.        Id.

     The cost calculation in the United States’ motion for summary

judgment represents past costs       because the “EPA has not yet

commenced the [selected remedy for the site].”               Id. at p. 1.

PRIDCO is liable, however, for “all costs,” including future costs.

CERCLA provides that the Court “shall enter a declaratory judgment

on liability for response costs or damages that will be binding on

any subsequent action or actions to recover further response costs

or damages.”   42 U.S.C. § 9613(g)(2)(B); see In re Dant & Russell,

Inc., 951 F.2d 246, 249—50 (9th Cir. 1991) (“CERCLA plaintiffs
   Case 3:15-cv-02328-GMM     Document 175   Filed 05/31/19   Page 6 of 26



Civil No. 15-2328 (FAB)                                                       6

will spend some money responding to an environmental hazard.             They

can then go to court and obtain reimbursement for their initial

outlays, as well as a declaration that the responsible party will

have continuing liability for the cost of finishing the job.”).

Congress recognized that “CERCLA cleanups are protracted ordeals

that usually require a series of removal actions spanning several

years.”    United States v. GE, 670 F.3d 377, 394 (1st Cir. 2012)

(citing Am. Cyanamid Co. v. Capuano, 381 F.3d 6, 16 (1st Cir. 2004)

(noting that the decontamination of hazardous substances is “done

in phases”)).         The United States need not relitigate CERCLA

liability to recover future costs from PRIDCO.                 PRIDCO may,

however, contest the amount of response costs in subsequent CERCLA

litigation.    United States v. USX Corp., 68 F.3d 811, 819 n.17

(3rd   Cir.   1995)    (“Essentially,   [section    9613(g)(2)]     mandates

collateral estoppel effect to a liability determination.                     Of

course, a defendant would remain able to contest the amount of

response costs or whether work undertaken was consistent with the

national contingency plan.”).

       According to the United States, the response costs total

$5,398,161.04.    (Docket No. 142 at p. 10.)       Because PRIDCO failed

to present a genuine issue of material fact as to costs, summary

judgment is warranted.
      Case 3:15-cv-02328-GMM    Document 175      Filed 05/31/19   Page 7 of 26



Civil No. 15-2328 (FAB)                                                             7

II.    Summary Judgment Standard

       A court will grant summary judgment if “there is no genuine

dispute as to any material fact and the movant is entitled to

judgment as a matter of law.”        Fed. R. Civ. P. 56(a).            “A dispute

is genuine if the evidence about the fact is such that a reasonable

jury could resolve the point in the favor of the non-moving party.

A fact is material if it has the potential of determining the

outcome of the litigation.”        Dunn v. Trs. of Bos. Univ., 761 F.3d

63, 68 (1st Cir. 2014) (internal citation omitted).

       The role of summary judgment is to “pierce the boilerplate of

the pleadings and assay the parties’ proof in order to determine

whether trial is actually required.”              Tobin v. Fed. Exp. Corp.,

775 F.3d 448, 450 (1st Cir. 2014) (internal citation omitted).

The party moving for summary judgment has the initial burden of

“demonstrat[ing] the absence of a genuine issue of material fact”

with definite and competent evidence.              Celotex Corp. v. Catrett,

477 U.S. 317, 323 (1986); Maldonado-Denis v. Castillo-Rodríguez,

23 F.3d 576, 581 (1st Cir. 1994).                 The movant must identify

“portions      of    ‘the      pleadings,        depositions,       answers        to

interrogatories,     and    admissions      on    file,    together     with      the

affidavits, if any’” which support its motion.                Celotex, 477 U.S.

at 323 (citing Fed. R. Civ. P. 56(c)).
   Case 3:15-cv-02328-GMM     Document 175   Filed 05/31/19   Page 8 of 26



Civil No. 15-2328 (FAB)                                                       8

     Once a properly supported motion has been presented, the

burden shifts to the nonmovant “to demonstrate that a trier of

fact reasonably could find in [its] favor.”               Santiago-Ramos v.

Centennial P.R. Wireless Corp., 217 F.3d 46, 52 (1st Cir. 2000)

(internal citation omitted).      “When the nonmovant bears the burden

of proof on a particular issue, [he or] she [or it] can thwart

summary judgment only by identifying competent evidence in the

record sufficient to create a jury question.”              Tobin, 775 F.3d

at 450-51. A court draws all reasonable inferences from the record

in the light most favorable to the nonmovant, but it disregards

unsupported and conclusory allegations.         McGrath v. Tavares, 757

F.3d 20, 25 (1st Cir. 2014).

III. Cost Recovery Pursuant to Section 9607(a)(4)(A) of CERCLA

     PRIDCO is liable for “all costs of removal or remedial action

incurred by the United States Government . . . not inconsistent

with the national contingency plan.”         42 U.S.C. § 9607(1)(4)(A).

Accordingly,   the   CERCLA   cost   analysis    is   a   function    of     two

variables: (1) the response actions implemented by the EPA, and

(2) consistency with the National Contingency Plan (“NCP”).

     A.   Response Actions

          CERCLA sets forth two categories of response actions:

(1) removal actions, and (2) remedial actions.                 42 U.S.C. §

9601(23) and (24).    “Removal” within the meaning of CERCLA refers
   Case 3:15-cv-02328-GMM             Document 175    Filed 05/31/19   Page 9 of 26



Civil No. 15-2328 (FAB)                                                                9

to “such actions as may be necessary to monitor, assess, and

evaluate the release or threat of hazardous substances.” 42 U.S.C.

§ 9601(23). Remedial actions are “consistent with permanent remedy

taken instead of or in addition to removal actions in the event of

a release or threatened release of a hazardous substance into the

environment.”          42 U.S.C. § 9601(24); see Schaefer v. Town of

Victor, 457 F.3d 188, 195 (2d Cir. 2006) (Remedial actions are

“generally          long-term    or     permanent     containment       or    disposal

programs,” and removal actions are “typically short-term cleanup

arrangements”).

               1.     Costs Attributed to Removal and Remedial Actions

                      Removal and remedial costs are defined liberally,

encompassing          expenses        incurred       throughoutthe       course       of

decontamination efforts.              W.R. Grace & Co. Conn. v. Zotos Int’l,

Inc.,    559    F.3d     85,    92     (2d   Cir.    2009)    (citation      omitted).

Recoverable costs include direct, indirect and oversight costs.

United States v. Ottati & Goss, Inc., 900 F.2d 429, 444 (1st Cir.

1990).    Direct costs are “[e]xpenditures that are incurred for a

particular site.”         (Docket No. 142, Ex. 9 at p. 11.)               Examples of

direct costs in the CERCLA context include the salaries of EPA

personnel to direct “cleanup activities, the cost of travel to the

site, and the cost of contractors performing work at the site.”

United States v. W.R. Grace & Co., 280 F. Supp. 2d 1149, 1167 (D.
   Case 3:15-cv-02328-GMM    Document 175   Filed 05/31/19     Page 10 of 26



Civil No. 15-2328 (FAB)                                                         10

Mont. 2003). Indirect costs “are EPA costs necessary to operate

the Superfund program but which are not directly attributable to

specific     sites,   [including]      overall     program        management,

administrative   support,    rent,    utilities,   and       employee    fringe

benefits.”    United States v. JG-24, Inc., 331 F. Supp. 2d 14, 49

(D.P.R. 2004) (Acosta, J.).

                 Recoverable costs also include prejudgment interest

and enforcement costs.      42 U.S.C. §§ 9601, 9607(a); United States

v. Monsanto Co., 858 F.2d 160, 175 (4th Cir. 1988).                Litigation

costs fall within the scope of enforcement costs.                  See United

States v. Northeastern Pharmaceuticals & Chemical Co., 579 F. Supp.

823, 852 (W.D. Mo. 1984) (holding that “defendants are jointly and

severally liable for, and the plaintiff is entitled to recover,

all litigation costs, including attorney fees, incurred by [the]

plaintiff” pursuant to CERCLA).

     B.    The National Contingency Plan

           The   National    Contingency    Plan   is    “essentially          the

federal government’s toxic waste playbook, detailing the steps

that government must take to identify, evaluate, and respond to

hazardous substances in the environment.”           Niagara Mohawk Power

Corp. v. Chevron U.S.A., Inc., 596 F.3d 112, 137 (2d Cir. 2010);

40 C.F.R. § 300.1 (“The purpose of the [NCP] is to provide the

organizational   structure    and    procedure   for    preparing       for    and
   Case 3:15-cv-02328-GMM     Document 175          Filed 05/31/19   Page 11 of 26



Civil No. 15-2328 (FAB)                                                               11

responding      to   discharges    of    oil    and     releases     of     hazardous

substances, pollutants, and contaminants.”).                   The NCP also sets

forth criteria that the EPA must consider in selecting a response

action.   40 C.F.R. § 300.415.

           The United States is entitled to recover costs arising

from response actions that are consistent with the NCP.                     42 U.S.C.

§ 9607(a)(4)(A).       PRIDCO need not, however, compensate the United

States    for    costs   arising        from   response       actions       that     are

inconsistent with the NCP.          See, e.g., United States v. Newmont

USA Ltd., 504 F. Supp. 2d 1077, 1085 (E.D. Wash. 2007) (“The Agency

for Toxic Substances and Disease Registry’s activities at the site

were inconsistent with the NCP and therefore the approximately

$520,000 in costs associated with that agency’s actions are not

recoverable”); In re Bell Petroleum Servs., 3 F.3d 889, 907 (5th

Cir. 1993) (“Because the decision to implement an [alternate water

supply]” was inconsistent with the NCP, “the EPA is not entitled

to recover the costs of designing and constructing the [alternate

water supply].”).

           PRIDCO shoulders the burden of demonstrating that the

EPA implemented response actions that are inconsistent with the

NCP. City of Bangor v. Citizens Communs. Co., 532 F.3d 70, 91 (1st

Cir.   2008)    (“Actions   undertaken         by    the   federal     or    a     state

government are presumed to not be inconsistent with the NCP.”)                        To
   Case 3:15-cv-02328-GMM   Document 175    Filed 05/31/19   Page 12 of 26



Civil No. 15-2328 (FAB)                                                      12

meet its burden, PRIDCO must “identify a particular provision in

the NCP with which a specific response action is inconsistent,”

and must show that this inconsistency “resulted in demonstrable

excess costs for which [PRIDCO] would not be responsible.”            United

States v. Am. Cyanamid Co., 786 F. Supp. 152, 162-63 (D.R.I. 1992);

United States v. Hardage, 982 F.2d 1436, 1444 (10th Cir. 1992)

(“The only way a responsible party can escape liability for the

government’s costs incurred at a particular site is to demonstrate

that the government’s response actions — i.e., removal and remedial

actions – underlying the costs, are inconsistent with the NCP.”).

          The EPA’s response actions are subject to an arbitrary

and capricious standard of review.         42 U.S.C. § 9613(j); United

States v. JG-24, Inc., 478 F.3d 28, 32 (1st Cir. 2007).                      The

arbitrary and capricious standard is “highly deferential” and

“narrow;” “the agency’s actions are presumed to be valid,” and the

Court “may not substitute its judgment for that of the agency.”

River St. Donuts, LLC v. Napolitano, 558 F.3d 111, 114 (1st Cir.

2009).   Indeed, the burden that PRIDCO must overcome in defeating

the presumption of consistency with the NCP is “heavy.”                Legal

Envtl. Assistance Found. v. EPA, 276 F.3d 1253, 1265 (11th Cir.

2001) (citation omitted); compare Wash. State Dep’t Transp. V.

Wash Nat. Gas Co., 59 F.3d 793, 802 (9th Cir. 1995) (holding that

the government acted in an arbitrary and capricious manner in part
      Case 3:15-cv-02328-GMM    Document 175      Filed 05/31/19   Page 13 of 26



Civil No. 15-2328 (FAB)                                                             13

because the “lead representative on the coordination team handling

the    contamination       project   was   not    even   aware     that   the      NCP

existed”), with United States v. Akzo Nobel Coatings, 990 F. Supp.

892, 897 (E.D. Mich. 1998) (“[W]hile perhaps EPA did not select

the ‘best’ remedy available to it, my review of EPA’s decision

should not be a judicial ‘second guess,’ but rather I must confine

it to a determination whether the remedy was rationally chosen

based upon the information available at the time the remedy was

selected.”).

             Judicial review of “any issues concerning the adequacy

of any response action” is limited to the administrative record.

42 U.S.C. § 9613(j).        The Court’s “focal point for judicial review

should be the administrative record already in existence, not some

new record made initially in the reviewing court.”                 Camp v. Pitts,

411 U.S. 138, 142 (1973); JG-24, Inc., 478 F.3d at 33—34 (“Under

CERCLA, judicial review is limited to the administrative record as

it existed at the time of the challenged agency action.”).

IV.    The EPA Selected a Remedy for the Cis-1, 2-DCE Plume Pursuant
       to the National Contingency Plan

       PRIDCO failed to set forth a genuine issue of material fact

as    to   whether   the    EPA’s    removal     and   remedial     actions     were

inconsistent with the NCP.            42 U.S.C. § 9607(a)(4); see Carson

Harbor Hill, Ltd. v. Uncocal Corp., 287 F. Supp. 2d 1118, 1154
   Case 3:15-cv-02328-GMM        Document 175    Filed 05/31/19    Page 14 of 26



Civil No. 15-2328 (FAB)                                                            14

(C.D.   Cal.     2003)   (“While    compliance    with    the     NCP   is   a   fact

question, it can, like any other fact question, be resolved on

summary judgment where the evidence is undisputed.”).                         Having

reviewed the record and relevant NCP provisions, the Court is

satisfied that the EPA did not act in an arbitrary and capricious

manner.       Accordingly, the Court concludes as a matter of law that

the EPA’s actions were consistent with the NCP.                     See Trafalgar

Capital Assocs. v. Cuomo, 169 F.3d 21, 26 (1st Cir. 1998) (“While

[the    arbitrary     and   capricious]    standard      of   review    is    highly

deferential, it is not a rubber stamp.”) (citation and internal

quotation omitted).

       The    presence   of    hazardous   substances     in      Maunabo’s      water

supply prompted the EPA to conduct a preliminary assessment,

remedial investigation, and feasibility study.                  (Docket No. 148,

Ex. 1 at pp. 1 and 4.)         “The purpose of the remedial investigation

(RI) is to collect data necessary to adequately characterize the

site    for    the   purpose   of   developing    and    evaluating      effective

remedial alternatives.”          40 C.F.R. § 300.430(d).          The feasibility

study sets forth “remedial action options that can be presented to

a decision-maker.”          40 C.F.R. § 300.430(e).           The EPA determined

that the groundwater contamination posed “a significant threat to

human health or the environment; therefore, remediation [was]

necessary.”      Docket No. 139, Ex. 2 at p. 4.; see 40 C.F.R. § 300.1
    Case 3:15-cv-02328-GMM     Document 175    Filed 05/31/19   Page 15 of 26



Civil No. 15-2328 (FAB)                                                         15

(“[The] purpose of the remedy selection process is to implement

remedies that eliminate, reduce, or control risks to human health

and the environment”).

        In 2012, the EPA issued the Record of Decision (“ROD”),

setting forth the “factual and legal basis for selecting the

[applicable] remedy.”        (Docket No. 139, Ex. 2 at p. 4.)6          The ROD

presents a comparative analysis of four remedial alternatives.

Id. at pp. 33-42.7       Pursuant to the NCP, the EPA assessed each

alternative according to nine criteria: (1) overall protection of

human health and the environment, (2) compliance with applicable

federal and state law, (3) long-term effectiveness and permeance,


6 The EPA is required to issue a Record of Decision.      42 U.S.C. § 9617; 40
C.F.R. section 300.430. These documents “provide a comprehensive description
of site conditions, the scope of the action, and the Selected Remedy, cleanup
levels, and the reason for selecting the remedy.” A Guide to Preparing Superfund
Proposed Plans, Records of Decision, and Other Remedy Selection Decision
Documents, (July 1999) (available at https://www.epa.gov/superfund/record-
decision-rod-guidance) (last visited May 31, 2019).

7 The four alternatives include: no action (“Alternative 1”), monitored national
attenuation (“MNA”) for each plume (“Alternative 2”), air sparging for the cis-
1, 2-DCE plume, and MNA for the two plumes located beyond PRIDCO’s property
(“Alternative 3”), and in-situ bioremediation for the cis-1, 2-DCE plume and
MNA for the PCE and 1, 1-DCE plumes (“Alternative 4”).      (Docket No. 139, Ex.
2 at pp. 33—35.)    According to the ROD, “air sparging is a technology in which
air is injected into the subsurface through sparge points. The injected air
acts to remove or ‘strip’ the VOCs from the groundwater.” (Docket No. 139, Ex.
2 at p. 34.) Monitored Natural Attenuation is a “cleanup method that relies on
physical, chemical, or biological processes that, under favorable conditions,
act without human intervention to reduce the amount, toxicity, or mobility of
contamination in soil of groundwater.” United States Environmental Protection
Agency Use of Monitored Natural Attenuation at Superfund, RCRA Corrective
Action, and Underground Storage Tank Sites, Directive 9200.4-17P (April 21,
1999)     (available     at    https://www.epa.gov/sites/production/files/2014-
02/documents/d9200.4-17.pdf) (last visited May 31, 2019). Bioremediation is “a
process by which microorganisms are added to a hazardous waste site to allow
bioactivity to degrade the contaminants contained therein.”       Allied Signal,
Inc. v. Amcast Int’l Corp., 177 F. Supp. 2d 713, 745 n.66 (S.D. Ohio 2011).
      Case 3:15-cv-02328-GMM   Document 175       Filed 05/31/19     Page 16 of 26



Civil No. 15-2328 (FAB)                                                              16

(4)    reduction of toxicity, mobility of volume through treatment,

(5) short-term effectiveness, (6) implementability, (7) cost, (8)

state acceptance, and (9) community acceptance.                        40 C.F.R. §

300.430(e)(9)(iii).       The protection of human health and compliance

with federal and state law are threshold criteria that “must be

met in order [for the proposed alternative] to be eligible for

selection.”       40 C.F.R. § 300.430(f)(i).             The remaining criteria

are “primary balancing” and “modifying” considerations that the

EPA must assess, but are not dispositive. Id.

       The remedy selected by the EPA incorporates air sparging for

the cis-1, 2-DCE plume and monitored natural attenuation for the

PCE and 1, 1-DCE plumes (hereinafter, “Alternative 3”).                      (Docket

No. 101, Ex. 6 at p. 75.)           The EPA concluded that Alternative 3

provided “adequate control of risk to human health,” and complied

with federal and        state law        in satisfaction of the threshold

criteria.     (Docket No. 139, Ex. 2 at pp. 36—38.)                 An analysis of

Alternative 3 pursuant to the primary balancing and modifying

criteria      demonstrated        that     air    sparging         would:    “reduce

concentrations to below the [preliminary remediation goals] within

a    reasonable     timeframe,”    “be    the    most   effective      in   reducing

toxicity and volume of contamination,” render “short term impacts

to    the   local   community,”     be    subject   to    implementation,        cost

approximately $4.9 million, garner approval from the Commonwealth
      Case 3:15-cv-02328-GMM     Document 175   Filed 05/31/19   Page 17 of 26



Civil No. 15-2328 (FAB)                                                           17

of Puerto Rico, and gain acceptance from the community.                  (Docket

No. 139, Ex. 2 at pp. 36—38.)8

       The Court will not subvert the technical and scientific

expertise of the EPA.            The record is devoid of any evidence

suggesting that the selection of Alternative 3 deviated from the

NCP, or that the EPA acted arbitrarily and capriciously.                Although

the    arbitrary   and   capricious     inquiry    must   “be    searching       and

careful,” evidence presented in support of the United States’

motion for summary judgment demonstrates that Alternative 3 is

“rational” and “makes sense.”          Citizens to Preserve Overton Park,

Inc., v. Volpe, 401 U.S. 402, 416 (1971) (in reviewing an agency’s

decision the Court “must consider whether the decision was based

on a consideration of the relevant factors and whether there has

been a clear error of judgment”); Penobscot Air. Servs., Ltd. v.

FAA, 164 F.3d 713, 720 (1st Cir. 1999) (citations omitted); United

States v. Northeastern Pharm. & Chem. Co., 810 F.2d 726, 748 (8th

Cir.    1986)   (“Because      determining   the   appropriate     removal       and

remedial action involves specialized knowledge and expertise, the

choice of a particular cleanup method is a matter within the

discretion of the EPA.”).


8 The EPA estimated Alternative 1 would cost nothing, Alternative 2 would cost
$2.5 million, and Alternative 4 would cost $2.8 million. (Docket No. 139, Ex.
2 at p. 38.) The Puerto Rico Environmental Quality Board concurred with the
EPA’s “preferred alternative recommendation for the Maunabo Ground Water
Contamination Site.” Id. at p. 58.
     Case 3:15-cv-02328-GMM    Document 175    Filed 05/31/19   Page 18 of 26



Civil No. 15-2328 (FAB)                                                          18

V.    There is No Issue of Material Fact that the United States
      Incurred $5,398,161.04 in Response Costs

      The   United    States    requests      $5,398,161.04     from     PRIDCO.

(Docket No. 142. at p. 13.)       This amount represents the direct and

indirect costs, litigation costs, and prejudgment interest.                     Id.

The NCP provides that:

      During all phases of response, the lead agency shall
      complete and maintain documentation to support all
      actions taken under the NCP and to form the basis for
      cost recovery. In general, documentation shall be
      sufficient to provide the source and circumstances of
      the release, the identity of responsible parties, the
      response action taken, accurate accounting of federal,
      state, or private party costs incurred for response
      actions, and impacts and potential impacts to the public
      health and welfare and the environment.
40 C.F.R. § 300.160.       The NCP does not define the terms “accurate

accounting” or “sufficient” documentation.             See United States v.

Chrysler Corp., 168 F. Supp. 2d 754, 769 (N.D. Ohio).                  “Detailed

cost summaries, supporting data, and other competent evidence,”

however, is sufficient to establish the amount of recoverable costs

in a CERCLA action.      United States v. Findett Corp., 200 F.3d 842,

849 (8th Cir. 2000).9



9 See also, United States v. Bell Petroleum Servs., Inc., 734 F. Supp. 771, 781
(W.D. Tex. 1990) (holding that the “failure to provide descriptive documentation
[in a CERCLA cost recovery action] does not make the Government’s accounting
inaccurate and even if it did, disallowance of costs for that reason is too
harsh a sanction for the omission, if any, involved”); United States v.
Saporito, Case No. 07-3169, 2011 U.S. Dist. LEXIS 66456, at *10 (N.D. Ill. 2011)
(granting the United States’ summary judgment motion for costs in a CERCLA
action, because the defendant failed to controvert cost reports and declarations
from EPA and Department of Justice officials).
      Case 3:15-cv-02328-GMM   Document 175   Filed 05/31/19   Page 19 of 26



Civil No. 15-2328 (FAB)                                                        19

        A.   Indirect Costs

             Christopher Osborne (“Osborne”) is employed by the EPA

as a Senior Financial Advisor in the Office of the Controller.

(Docket No. 142, Ex. 11 at p. 2.)              Osborne submitted a sworn

declaration, setting forth the methodology employed by the United

States to calculate the indirect costs attributable to the site.

Id.     The EPA developed an indirect cost methodology pursuant to

the Statement of Federal Financial Accounting Standard #4, issued

by the Office of Management and Budget to promulgate the cost

accounting principles for the federal government.               Id. at p. 6.

The EPA determines “the site-specific direct costs within [a

specific EPA] region to calculate the indirect costs associated

with those site-specific direct costs.”            Id. at p. 15.       Osborne

provides the following example: “[I]f a particular organization

represents 10% of the total direct costs, that organization would

receive as an allocation 10% of the [indirect] costs.”              Id. at p.

14.10    According to Osborne, the indirect cost methodology reflects

“a fair and equitable allocation of non-site-specific contractor

costs to the Maunabo Urbano Public Wells Site and is consistent




10 The EPA maintains ten regional offices. Puerto Rico, the Virgin Islands, New
Jersey, New York and eight tribal nations constitute Region 2. See Organization
of      EPA’s      Region      2     Office      in     New     York      City,
https://www.epa.gov/aboutepa/visiting-regional-office (last visited May 31,
2019).
   Case 3:15-cv-02328-GMM      Document 175    Filed 05/31/19     Page 20 of 26



Civil No. 15-2328 (FAB)                                                            20

with generally accepted cost accounting concepts and principles.”

Id. at p. 22.

     B.     Direct Costs

            Luis Santos (“Santos”) is the Remedial Project Manager

(hereinafter, “RPM”) for the Caribbean Environmental Protection

Division for Region 2.      (Docket No. 101, Ex. 2 at p. 1.)                 As the

RPM, Santos has reviewed the relevant records, reports and data

compilations relating to the site.            Id.     Beginning in 2005, the

EPA performed several removal and remedial actions.                 Id. at p. 2.

These     actions   include:    a   preliminary        assessment      and     site

inspection, placing the site on the National Priorities List,

issuing a remedial investigation and feasibility report, issuing

the ROD,    completing a pre-design investigation and pilot study to

characterize “the extent of the PRIDCO Property cis-1, 2-DCE

plume,”    preparing   a   design   analysis        report   to    identify       the

“technical aspects to construction of the air sparging remedy,”

and issuing the final remedial design report for the air sparging

remedy.     (Docket No. 166, Ex. 2 at p. 2.)            The EPA commissioned

various contractors, including CDM Smith, Inc., Lockheed Martin,

and Alion Science and Technology Corporation, to complete the pre-

design investigation and other response actions.                (Docket No. 101,

Ex. 2 at p. 2; Docket No. 166, Ex. 2 at p. 6.)
      Case 3:15-cv-02328-GMM     Document 175    Filed 05/31/19   Page 21 of 26



Civil No. 15-2328 (FAB)                                                           21

             Santos submitted an itemized cost summary for the site,

including the cis-1, 2-DCE, PCE and 1, 1-DCE plumes.                 (Docket No.

166, Ex. 2 at p. 6.)           The costs include:

             EPA Payroll:      $518,598.24

             EPA Travel:        $1,330.27

             State Cooperative Agreement:          $36,543.93

             EPA-Approved Laboratory Fees:          $490,036.01

             Contractor Costs:       $3,693,494.34

             Miscellaneous Costs:       $31.50

             Indirect Costs:      $1,815,510.53

Id.    The total amount of direct and indirect costs for the Maunabo

Urbano Public Wells Site is $6,555,544.82, “although the bulk of

these costs are related to the PRIDCO cis-1, 2-DCE plume.”                 Id. at

p. 2. Litigation costs and prejudgment interest are not included

in this amount.      Id.

       C.    Litigation Costs

             The United States submitted a sworn declaration from

William Kime (“Kime”), a certified public accountant.                (Docket No.

142, Ex. 10.) Kime assists the Environmental and Natural Resources

Division (“ENRD”) of the Department of Justice in accumulating,

processing, and reporting litigation costs.                Id. at p. 2.           The

ENDR attorneys report the hours they allocate to a specific case,

which are included in the direct litigation cost analysis.                 Id. at
   Case 3:15-cv-02328-GMM        Document 175     Filed 05/31/19    Page 22 of 26



Civil No. 15-2328 (FAB)                                                              22

p. 4.       Direct litigation costs also include expenses for travel,

expert witnesses, and deposition transcripts.                      Id.     Indirect

litigation       costs    such    as        paralegal    administrative        time,

secretarial support, utilities, and training are divided by “a

base consisting of the total ENRD direct labor costs . . . to

produce a division-wide indirect cost rate by fiscal year.”                         Id.

at p. 5.        The division-wide indirect costs are allocated among

CERCLA cases according to the direct costs.               Id.      Kime calculated

that    from    October   1,   2015    to    September   30,    2017,    the   total

litigation cost relating to this action is $529,441.70.                             Id.

       D.      Prejudgment Interest

               Wiley Wright (“Wright”), a certified public accountant,

evaluated the costs incurred by the EPA regarding the Maunabo

Urbano Public Wells Superfund Site. (Docket No. 149, Ex. 9; Docket

No. 166, Ex. 1.) Wright concluded that the final prejudgment

interest is $181,899.67 as of March 8, 2018.               (Docket No. 142, Ex.

9 at pp. 20—22.)      He arrived at this amount by multiplying the sum

of all principal expenditures by the Superfund interest rate.                       See

42 U.S.C. § 9607(a)(4)(D) (“the rate of interest on the outstanding

unpaid balance of the amounts recoverable under this section shall

be the same rate as is specified for interest on investments of

the Hazardous Substance Superfund”).
      Case 3:15-cv-02328-GMM   Document 175   Filed 05/31/19   Page 23 of 26



Civil No. 15-2328 (FAB)                                                        23

       E.    Total Amount of Response Costs for the Cis-1, 2-DCE Plume

             According to Wright, the EPA has incurred $7,315,546.22

in response costs and prejudgment interest as of February 28, 2018.

(Docket No. 142, Ex. 9 at p. 7.)         PRIDCO is not liable, however,

for the response costs incurred by the EPA in connection with the

PCE and 1, 1-DCE plumes of contaminated groundwater.             Based on the

EPA’s cost summaries, cost allocations from CDM Federal Programs

Corporation, supporting documentation, and prejudgment interest

summary, the total response cost for the cis-1, 2-DCE plume is

$5,398,161.04 as of February 28, 2018.          Id. at p. 8.

VI.    PRIDCO’s Arguments in Opposition to the United States’ Motion
       for Summary Judgment are Unavailing

       The linchpin of PRIDCO’s argument in opposition to summary

judgment is that the United States withheld “detailed information

regarding costs and allocations” in violation of Federal Rule of

Civil Procedure 26 (“Rule 26”).        (Docket No. 153 at p. 16.)          This

argument is unconvincing.

       PRIDCO claims that the expert reports by Wright, Osborne, and

Kime are insufficient because they lack specific cost analyses

regarding the cis-1, 2-DCE plume.        (Docket No. 153 at pp. 18—20.)

Rule 26 required the United States to disclose a written report

identifying any witness “retained or specially employed to provide

expert testimony in the case or one whose duties as the party=s
     Case 3:15-cv-02328-GMM    Document 175   Filed 05/31/19   Page 24 of 26



Civil No. 15-2328 (FAB)                                                        24

employee regularly involve giving expert testimony.” Fed. R. Civ.

P. 26(a)(2).    This report must set forth a “complete statement of

all opinions the witness will express and the basis and reasons

for them,” and the “facts or data considered by the witness in

forming them.”     Id.

      PRIDCO’s allegations of discovery violations are unwarranted

and untimely.     PRIDCO cites no authority for the proposition that

expert reports must contain a specific cost analysis.                 Osborne,

Wright and Kime, however, set forth the data and facts that form

the basis of their opinions in accordance with Rule 26.11              Fed. R.

Civ. P. 26(a)(2).        See Nixon-Egil Equip. Co. v. John A. Alexander

Co., 949 F. Supp. 1435, 1446 (C.D. Cal. 1996) (holding in a CERCLA

action that “the expert does explain the basis for his opinion; he

refers to the reports he has read and summarizes the physical

theory . . . Thus, the report is adequate under Rule 26.”).

      Pursuant to the Court’s order, PRIDCO was to receive the

expert reports from Osborne, Wright and Kime on April 2, 2018.

(Docket Nos. 136.)        The United States disclosed a cost report on

March 1, 2018 to provide PRIDCO with “an idea of past costs EPA



11See Wright Report, Docket No. 149, Ex. 9 at p. 20—22 (listing the documents,
data, or other information considered in forming his opinion); Osborne Report,
Docket No. 142, Ex. 11 at p. 4 (“Attachment B lists the documents [Osborne]
considered in forming his expert opinion); Kime Report, Docket No. 142, Ex. 10
at p. 5 (attaching a summary setting forth “the total costs for this Site
incurred by ENRD”).
      Case 3:15-cv-02328-GMM     Document 175     Filed 05/31/19    Page 25 of 26



Civil No. 15-2328 (FAB)                                                             25

incurred responding to the Site.”               (Docket No. 153, Ex. 1 at p.

1.)      PRIDCO then requested a report that isolated the costs

incurred in response to the cis-a, 2-DCE plume.                    (Docket No. 153

at p. 16.)      Subsequently, the United States timely disclosed the

expert cost reports.        (Docket No. 158 at p. 6.)               PRIDCO did not

present an expert witness regarding costs, nor did PRIDCO depose

the United States’ cost experts.                 (Docket No. 153 at p. 16.)

Additionally, PRIDCO did not file a motion to compel the disclosure

of cost-related discovery.             Not until the eve of the deadline to

oppose the United States’ motion for summary judgment did PRIDCO

raise an alleged Rule 26 violation.             (Docket No. 158 at p. 5.)            In

light of these circumstances, the Court is unconvinced that a Rule

26 violation occurred, or that any such violation would justify

denying the United States’ motion for summary judgment.                             See

Fernández-Salicrup v. Figueroa-Sancha, 790 F.3d 312, 322 (1st Cir.

2015)     (holding   that      “even    if    Defendants    were     intentionally

delaying the disclosure of necessary documents, there is nothing

in the record suggesting that Plaintiffs timely brought the issue

before the district court in an attempt to remedy the situation”);

Roosevelt Cayman Asset Co. v. Robles, Case No. 15-1308, 2017 U.S.

Dist. LEXIS 49603 *9 (“Defendants’ unsupported claim as to a

discovery      violation    is     not       sufficient    to      defeat   summary
   Case 3:15-cv-02328-GMM   Document 175   Filed 05/31/19   Page 26 of 26



Civil No. 15-2328 (FAB)                                                     26

judgment.”) (López, Mag. J.).       Accordingly, the United States’

motion for summary judgment is granted.

VII. Conclusion

    For the reasons set forth above, the United States’ motion

for summary judgement is GRANTED.      (Docket No. 142.)        The United

States shall submit a proposed judgment that reflects the current

amount owed by PRIDCO, including prejudgment interest, no later

than June 14, 2019.

    IT IS SO ORDERED.

    San Juan, Puerto Rico, May 31, 2019.


                                      s/ Francisco A. Besosa
                                      FRANCISCO A. BESOSA
                                      UNITED STATES DISTRICT JUDGE
